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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION


  State of Missouri, et al.,

                               Intervenor-Plaintiffs,

          v.                                                      Case No. 2:22-cv-00223-Z

  U.S. Food and Drug Administration, et al.,

                               Defendants,

          and

  Danco Laboratories, LLC,

                               Intervenor-Defendant.


      [Proposed] Order Granting Defendants’ Unopposed Motion for Extension of Time
                                    to File Reply Brief


         Before the Court is Defendants’ Unopposed Motion for Extension of Time to File Reply

 Brief (“Motion”) (ECF No. 238), filed on March 3, 2025. Having considered the Motion, the Court

 GRANTS the Motion and ORDERS that Defendants’ and Intervenor-Defendants’ deadlines to file

 their reply briefs in support of their motions to dismiss are hereby EXTENDED by a period of 60

 days until May 5, 2025.

         SO ORDERED.


         March ___, 2025

                                                            MATTHEW J. KACSMARYK
                                                            UNITED STATES DISTRICT JUDGE
